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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               CRIMINAL NO. 06-20663
              Plaintiff,
                                               DISTRICT JUDGE AVERN COHN
v.

D-10, DEXTER HUSSEY,

              Defendant.
                                          /


     ORDER COMMITTING DEFENDANT DEXTER HUSSEY TO UNITED STATES
       BUREAU OF PRISONS FOR MENTAL EXAMINATION AND REPORT

       The Court has a concern as to the competency of the defendant to stand trial and

if competent, his ability to represent himself. Accordingly,

       IT IS ORDERED that the defendant, Dexter Hussey, be committed to an appropriate

facility designated by the United States Bureau of Prisons for a period not to exceed thirty

(30) days from the date of his arrival, pursuant to 18 U.S.C. § 472(b), in order to determine

whether the defendant currently is suffering from a mental disease or defect rendering him

mentally incompetent to stand trial pursuant to 18 U.S.C. § 4241 and if competent, his

competency to represent himself.

       A report shall be prepared pursuant to 18 U.S.C. § 4247(c) and shall be sent to the

Honorable Avern Cohn, Theodore Levin U.S. Courthouse, 231 W. Lafayette Blvd, Room

219, Detroit, MI 48226, Phone Number (313) 234-5160. The Court will then provide copies

to defendant as well as counsel for the defendant and counsel for the government,

pursuant to this provision. Further, as part of this Order, the United States Marshal and the
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Bureau of Prisons are directed to conduct the transportation and the evaluation of the

defendant in an appropriate and expeditious manner.

       Pursuant to the Speedy Trial Act provisions of 18 U.S.C. § 3161(h)(1)(A), the time

required for trial of the defendant shall be tolled from the date of this order until the results

of said psychological examination are received by the Court, such period being delay

contemplated by 18 U.S.C. § 3161(h)(1)(A).

       IT IS FURTHER ORDERED that the Clerk deliver a certified copy of this

Commitment Order to the United States Marshal and the local representative of the Bureau

of Prisons.

       IT IS FURTHER ORDERED that part of the Order Revoking Bond and for a

Psychological Evaluation entered April 23, 2009 (D/E 481) relating to the psychological

evaluation is VACATED.



Dated: April 24, 2009                       s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record, U.S. Marshal on this date, April 24, 2009, by electronic and/or ordinary mail.


                                             s/Julie Owens
                                            Case Manager, (313) 234-5160
